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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


      SERGIO FACUNDO, on behalf of himself and              )
      all others similarly situated and                     )
      JUAN MARTINEZ,                                        )
                                                            )
                                    Plaintiffs,             )
                                                            )   Civil Action No.: 4:15-CV-808-ALM
      v.                                                    )   JURY DEMANDED
                                                            )
      GANT CONTRACTORS, INC. and                            )
      PAUL E. GANT,                                         )
                                                            )
                                    Defendants.             )




                          ORDER DISMISSING CASE WITH PREJUDICE

             Before the court is the Agreed Motion Tte~ismiss With Prejudice of Plaintiffs, Sergio
ext
      Facundo and Juan Martinez, the individuals that have filed a consent pursuant to 29 U.S.C.

      Sec. 216 (b) to opt-in to become a plaintiff, Osbaldo Ocana, Mario Gonzales, Oscar Martinez

      and Leopoldo Licea, and Defendants, Gant Contractors, Inc. and Paul E. Gant, seeking

      dismissal with prejudice. The court is of the opinion that the motion should be granted. IT IS

      THEREFORE ORDERED that the Agreed Motion to Dismiss is GRANTED, this case is

      DISMISSED WITH PREJUDICE, and costs and fees, including attorneys' fees will be borne

      by those incurring the same. The court HEREBY retains jurisdiction to enforce the terms of

      the settlement agreement of the parties to the settlement agreement.

             THIS IS A FINAL JUDGMENT




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